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                        UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF TENNESSEE


   FUSION ELITE ALL STARS, et al.,

                     Plaintiffs,
                                          Case No. 2:20-cv-02600-SHL-tmp
   v.
                                          JURY TRIAL DEMANDED
   VARSITY BRANDS, LLC, et al.,

                     Defendants.


   JONES, et al.,

                     Plaintiffs,
                                          Case No. 2:20-cv-02892-SHL-tmp
   v.
                                          JURY TRIAL DEMANDED
   BAIN CAPITAL PRIVATE EQUITY, et al.,

                     Defendants.


   AMERICAN SPIRIT AND CHEER
   ESSENTIALS, INC., et al.,
                                          Case No. 2:20-cv-2782-SHL-tmp
                     Plaintiffs,
                                          JURY TRIAL DEMANDED
   v.

   VARSITY BRANDS, LLC, et al,

                     Defendants.


        REPLY IN SUPPORT OF PLAINTIFFS’ JOINT MOTION TO FACILITATE
           COORDINATION OF DEPOSITIONS IN THE RELATED ACTIONS
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          Plaintiffs Fusion Elite All Stars, Spirit Factor LLC d/b/a Fuel Athletics, Stars and Stripes

   Gymnastics Academy Inc. d/b/a Stars and Stripes Kids Activity Center, Kathryn Anne Radek,

   Lauren Hayes, and Janine Cherasaro (collectively, “Fusion Elite Plaintiffs”); Plaintiffs Jessica

   Jones, Michelle Velotta, and Christina Lorenzen (collectively, “Jones Plaintiffs”); and Plaintiffs

   American Spirit and Cheer Essentials, Inc., Rockstar Championships, LLC, Jeff & Craig Cheer,

   LLC, d/b/a Jeff and Craig Camps, and Ashley Haygood (collectively, American Spirit

   Plaintiffs”) hereby respectfully submit this Reply in Support of their Joint Motion to Facilitate

   Coordination of Depositions in the above-captioned matters (collectively, the “Related

   Actions”).

                                              ARGUMENT

          Defendants propose that, instead of determining before depositions commence how many

   hours of testimony will be permitted in depositions noticed in all three Related Actions, the

   parties should instead be required to negotiate, justify, and likely litigate, seriatim, every

   deposition where more than seven hours of testimony is required. 1 This is unworkable, unfair,

   and a total departure from the manner in which depositions in analogous complex related actions

   are typically handled by the courts, as demonstrated in the numerous orders attached to

   Plaintiffs’ Motion. Indeed, such orders are ordinarily achieved by consent, without the need for

   motion practice. Yet Defendants’ proposal would needlessly increase the costs of litigation to the

   parties and burden the Court with duplicative and unnecessary motions.




   1
    The Discovery Order in Fusion Elite permits “55 non-expert depositions, inclusive of third-
   party depositions.” (No. 20-cv-2600, Dkt. 89 at 3.) The Jones Plaintiffs are in the process of
   proposing a deposition protocol for depositions in their own action, which will account for
   additional depositions to cover the additional defendants named in that action.
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          Defendants do not disagree with the provisions of the Plaintiffs’ Proposed Order allowing

   Plaintiffs to attend and ask questions at all depositions noticed in the Related Actions. (Proposed

   Order at ¶¶4-5.) What Defendants appear to disagree with are the measures required to

   implement that coordination—namely additional time for each group of Plaintiffs to ask their

   questions at coordinated depositions. (Id. at ¶¶6-7.) Defendants’ proposal is based on a

   fundamental misapplication of the Federal Rules of Civil Procedure. It treats the Related

   Actions—on behalf of three different groups of litigants and involving different damage

   theories—as a single lawsuit, and it posits that three notices of deposition should be treated as

   one simply because Plaintiffs stipulated to the coordination of discovery in the Related Actions.

   (No. 20-cv-02600, Dkt. 92.) But Plaintiffs’ proposal regarding deposition time does not seek to

   expand the time permitted for a single deposition of a single witness. Rather, it actually restricts

   the time that would normally be permitted when three separate depositions are noticed in three

   separate lawsuits. Absent coordination, Rule 30(d)(1) would permit Fusion Elite Plaintiffs seven

   hours of questioning at each of their depositions, Jones Plaintiffs seven hours of questioning at

   each of theirs, and American Spirit Plaintiffs seven hours of questioning at each of their

   depositions. The 11 hours proposed by Plaintiffs—collectively, for all three cases combined—

   cuts this time almost in half.

          Defendants’ claim that Fusion Elite Plaintiffs are trying to avoid the deposition limits

   they negotiated misstates the relief that Plaintiffs seek. Fusion Elite Plaintiffs are not requesting

   to ask questions for more than seven hours per deposition in the Fusion Elite action. Rather, the

   Jones Plaintiffs and American Spirit Plaintiffs are trying to avoid duplicating those seven hours,

   and they merely want assurances that they will be allotted up to two hours each when each

   notices the deposition of a witness also noticed by the Fusion Elite Plaintiffs. Defendants admit




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   that the Fusion Elite action, in which they agreed to seven hours of testimony for each 30(b)(1)

   witness and 15 hours of 30(b)(6) testimony for Varsity Defendants, is “narrower” than American

   Spirit and Jones. Thus, it would stand to reason that those actions need additional time.

          In order to shorten the time for depositions, Defendants inaccurately characterize the

   claims in the Related Actions as “identical” because they are all related to “cheerleading.” (No.

   20-cv-2600, Dkt. 159 at 1.) As the Court explained in its discovery coordination order (when it

   specifically declined to consolidate the three actions), “each of the three cases is brought on

   behalf of largely non-overlapping proposed classes of persons and entities whose interests may

   come into conflict, and who may need or desire to take different position[s].” (No. 20-cv-02892,

   Dkt. 45 at 4.) While the Jones and American Spirit Plaintiffs also make allegations related to All

   Star Cheer competitions and apparel, their allegations are much broader. They additionally

   involve claims under state consumer protection and antitrust laws not at issue in Fusion, and

   federal and state RICO claims. Jones and American Spirit also involve a series of additional

   anticompetitive and illegal practices involving other economic activity, including claims related

   to school competitions, recreational cheerleading, school apparel, and cheer camps, and they

   involve different Defendants than in Fusion. (No. 20-cv-02892, Dkt. 1 ¶¶1-6, 20-22; No. 20-cv-

   2782, Dkt. 1 ¶¶1-2.) Finally, and importantly, Jones Plaintiffs are indirect purchasers and, must

   show different damages, including the pass on of illegal overcharges to athletes and their

   families in each alleged relevant market (competitions, camps, apparel). (Id. ¶¶1-6, 29-31, 231-

   256.) It then only makes sense to provide the American Spirit and Jones Plaintiffs with additional

   time to question witnesses about the additional issues raised in their cases. Of course, these time

   provisions would be the upper limits and would likely not be needed in each deposition given

   that Plaintiffs are coordinating their discovery as efficiently as possible.




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          The time Plaintiffs seek is on the low end for complex cases of this type. In Intel Corp.

   Microprocessor, the court upheld two to three days of depositions of defense witnesses, based on

   “eight years of particularized knowledge by the Dell Witnesses, including thousands of

   documents personally authored by each one.” In re Intel Corp. Microprocessor Antitrust Litig.,

   No. CIV. A. 05-441-JJF, 2008 WL 5377979, at *2 (D. Del. Dec. 18, 2008). Here, every Varsity

   witness whose deposition has been noticed, was a custodian of over a thousand, often many

   thousands, of documents, and many worked for Varsity for more than 10 years.

          Given the varied scope of the three distinct Related Actions, and the complexity of the

   allegations against Defendants, the relief Plaintiffs seek is merely a practical solution to provide

   an orderly efficient procedure for addressing timing issues in numerous upcoming depositions. 2

   The alternative is an unnecessary multiplication of proceedings. Defendants’ suggestion that it

   “should be taken up on a case-by-cases basis,” on the other hand, would create significant

   inefficiencies, including repeatedly arguing the same issue, filing emergency motions with the

   Court, and wasting the Court’s and the parties’ resources in three already complex antitrust class

   actions. 3 As Plaintiffs have shown, they are already doing their best to coordinate across the

   three Related Actions, including choosing a lead questioner to cover overlapping topics at each

   deposition and also working together, for instance, on motions like this to afford the fair and

   efficient process of discovery. Moreover, the relief they seek here is commonplace in these types

   of cases. (No. 20-cv-2600, Dkt. 155-1 at 10; Dkt. 155-2, Dkts. 155-4 to 155-6.) The only real



   2
    The parties are in the process of finding mutually agreeable dates for the depositions of nine
   current Varsity employees and three former Varsity employees that Plaintiffs have noticed.
   3
    Because USASF’s conduct relates primarily to the All Star Competition and Apparel markets,
   Plaintiffs are willing to limit USASF’s employee and Rule 30(b)(6) depositions to nine hours
   each, to allow one additional hour for the Jones and American Spirit cases, to accommodate their
   differently-situated parties and different claims against USASF.


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   distinguishing factor Defendants have identified here is their refusal to stipulate to such a

   protocol. (Dkt. 159 at 4 n.2.)

          Defendants also misstate the present proposal. It would not apply, as Defendant suggest,

   “regardless of the witness (party or third party) or the information the witness might have.” (No.

   20-cv-02600, Dkt. 159 at 1.) Plaintiffs’ Proposed Order expressly limits its application to

   “deponents represented by counsel for Defendants . . . .” Third party depositions will be

   negotiated with those parties’ counsel. Indeed, Plaintiffs have reached such an agreement with

   counsel for Brian Elza and Francis LeTard, two former Varsity employees set to be deposed later

   this month. Further, deposition time will not be expanded “regardless of . . . the information the

   witness might have.” (Id.) If the witness has information relevant only to one case, his or her

   deposition will be noticed only in one case and will be, at most, seven hours long.

                                            CONCLUSION

          Plaintiffs seek an ordered process that provides adequate time to address their non-

   overlapping claims and to seek testimony to support their own burdens of proof at trial. Their

   proposal to coordinate time across the three Related Actions mirrors how this issue has been

   handled in similar complex cases where multiple actions and parties are involved. Defendants’

   alternative—piecemeal and hasty runs to this Court at the end of seven-hour days in depositions

   tightly scheduled around the Related Actions’ discovery timetables—flies in the face of Rule 1’s

   admonition that matters “should be construed, administered, and employed by the court and the

   parties to secure the just, speedy, and inexpensive determination of every action and

   proceeding.” The upper limit of 11 hours that Plaintiffs suggest shows restraint in light of the 21

   hours to which they would ordinarily be entitled. For all these reasons, Plaintiffs respectfully

   request that this Court grant their motion and enter the proposed order previously submitted

   therewith.


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   Dated: November 9, 2021         Respectfully submitted,

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